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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York



                                                      86 Chambers Street, 3rd floor
                                                      New York, New York 10007




                                                    February 16, 2025

BY ECF
The Honorable Jeannette A. Vargas
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

                   Re:     State of New York et al. v. Trump et al., No. 25 Civ. 1144 (JAV)

Dear Judge Vargas:

         This Office represents the defendants in the above-captioned matter, in which the
Court held oral argument on the plaintiffs’ motion for a preliminary injunction on
February 14, 2025. We write, first, to provide an answer to one of the Court’s questions
during argument. The Court inquired as to the statutory basis underlying Thomas H.
Krause, Jr.’s initial hiring1 as a consultant at the Treasury Department, pursuant to 5
U.S.C. § 3109. The relevant authorizing statute was 31 U.S.C. § 332(1), which provides
that the Treasury Secretary “may to the extent provided in advance by appropriation acts .
. . contract for the temporary or intermittent services of experts or consultants as
authorized by” Section 3109.2

        Second, we write to bring to the Court’s attention a relevant supplemental
authority. On February 14, 2025, the district court in A.F.L.-C.I.O. et al. v. Dep’t of
Labor et al., Civil Action No. 25-339 (JDB) (D.D.C.), denied the plaintiffs’ motion for a
temporary restraining order that would restrain the Department of Labor, Department of
Health and Human Services, Consumer Financial Protection Bureau, and United States
DOGE Service “from providing any person outside the three agencies—namely, DOGE

1 As the government noted during argument, Mr. Krause has since been appointed a

Temporary Transitional Schedule C employee of the Treasury Department. See ECF No.
58.
2 The relevant appropriation is section 113 of Division B of Pub. L. No. 118-47

(“Appropriations to the Department of the Treasury in this Act shall be available for . . .
services authorized by 5 U.S.C. § 3109”).
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personnel—with access to records systems containing personal information or data.” See
Ex. A.

        We thank the Court for its consideration of this submission.

                                                   Respectfully,

                                                   MATTHEW PODOLSKY
                                                   Acting United States Attorney for the
                                                   Southern District of New York
                                                   Attorney for Defendants

                                             By: /s/ Rebecca S. Tinio__      _
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Encl.




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